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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                No. 4:06CR00417-08 JLH

GARY PAUL HOLDER, JR.                                                             DEFENDANT


                                           ORDER

       The government has filed a motion to dismiss without prejudice as to Gary Paul Holder, Jr.

The motion is GRANTED. Docket #230. The indictment is hereby dismissed without prejudice as

to Gary Paul Holder, Jr.

       IT IS SO ORDERED this 31st day of March, 2008.




                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
